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Pro Se 2(Rev. 12/16)Complaint and Request for Injunction



                                       United States District Court
                                                                      for the

                                                           Eastern   District of   Virginia

                                                               Richmond     Division




                                                                                 Case No.
                                                                                                               .\/ oo
                                                                                                (to befilled in by the Clerk's Office)


                              PlainliMs)              C
(Write thefull name ofeach plaintiff who isfiling this complaint.
Ifthe names ofali the plaintiffs cannotfit in the space above,
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)
                                 -V-




                              yfendant(s)               A'
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotfit in the space above, please
 write "see attached" in the space and attach an additionalpage
with thefull list ofnames.)



                                   COMPLAINT AND REQUEST FOR INJUNCTION
                                                                                                         %,c<                                               .

           The Parties to This Compiaint
           A.        The Piaintiff(s) C s** irUUtA<J)
                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                                Name

                                Street Address

                                City and County
                                State and Zip Code
                                Telephone Number                                9(e'=f- 5-99^
                                E-mail Address
                                                                            d*iYoree</t



           B.        The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person'sjob or title (ifknown). Attach additional pages if needed.^                                     </
                                                                                                                   doe^tortfs^.
                                                                                                                                              Page 1 of 6
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Pro Se 2(Rev. 12/16)Complaint and Requesi for Injunction


                    Defendant No. 1

                               Name

                               Job or Title (ifknown)
                               Street Address

                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (ifknown)


                    Defendant No.2

                               Name

                               Job or Title (ifknown)
                               Street Address

                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (ifknown)
                                                           t
                    Defendant No.3

                               Name

                               Job or Title (ifknown)
                               Street Address

                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address(ifknown)


                     Defendant No.4

                               Name

                               Job or Title (ifknown)
                               Street Address

                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address(ifknown)



                                                                                    Page 2 of 6
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                               b.        Ifthe defendant is a corporation
                                         The defendant, (name)                                       ,is incorporated under
                                         the laws ofthe State of(name)                                         ,and has its
                                         principal place of business in the State of(name)
                                         Or is incorporated under the laws of(foreign nation)
                                         and has its principal place ofbusiness in(name)

                               (Ifmore than one defendant is named in the complaint, attach an additionalpage providing the
                               same informationfor each additional defendant.)

                               The Amount in Controversy

                               The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                               stake-is more than $75,000, not counting interest and costs of court, because (explain):

                              dl;


in.       Statement of Claim             C d^e-e
          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights,
          including the dates and places ofthat involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement ofeach claim in a separate paragraph. Attach additional pages if
          needed.


          A.         Where did the events giving rise to your claim(s)occur?




          B.         What date and approximate time did the events giving rise to your claim(s)occur?




                                                                                                                    Page 4 of 6
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11.       Basis for Jurisdiction


          Federal courts are courts oflimited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal coiut: cases involving a federal question and cases involving diversity ofcitizenship ofthe
          parties. Under 28 U.S.C.§ 1331, a case arising imder the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332,a case in which a citizen ofone State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity ofcitizenship case. In a
          diversity ofcitizenship case, no defendant may be a citizen ofthe same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                 miFederal question                            [Zl Diversity ofcitizenship

          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




          B.         If the Basis for Jurisdiction Is Diversity of CitLranship

                     1.        The Plaintiff(s)

                               a.         Ifthe plaintiff is an individual
                                          The plaintiff, (name)                                                ,is a citizen of the
                                          State of(name)


                                b.        Ifthe plaintiff is a corporation
                                          The plaintiff, (name)                                                ,is incorporated
                                          under the laws ofthe State of(name)                                                         ,
                                          and has its principal place of business in the State of(name)



                               (Ifmore than one plaintiffis named in the complaint, attach an additionalpage providing the
                               same informationfor each additional plaintiff.)

                                The Defendant(s)

                                a.        If the defendant is an individual
                                          The defendant, (name)                                                ,is a citizen of
                                          the State of(name;                                               . Or is a citizen of
                                           (foreign nalion)



                                                                                                                           Page 3 of 6
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          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)




IV.       Irreparable Injury

           Explain why monetary damages at a later time would not adequately compensate you for the injuries you
           sustained, are sustaining, or will sustain as a result ofthe events described above,or why such compensation
           could not be measured.




V.         ReUef


           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.




                                                                                                                      Page S of 6
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VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge,information,
          and belief that this complaint:(1)is not being presented for an improper purpose,such as to harass, cause
          unnecessary delay,or needlessly increase the cost oflitigation;(2)is supported by existing law or by a
          nonfirivolous argmnent for extending, modifying, or reversing existing law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.        For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date ofsigning:                  •\


                     Signature of Plaintiff
                    Printed Name ofPlaintiff                  g)tiVtg. O cP I

          B.         For Attorneys

                     Date ofsigning:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number

                     Name ofLaw Firm

                     Street Address

                     State and Zip Code
                     Telephone Number
                     E-mail Address
                                                                                                            ro

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      IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




XI CHIN CLAN NATION
P.O. Box 6666
Woodbridge, VA 22195
                                         DOCKET NO.   3:20cv00739
HARMON RHASHEA LYNN
FOREIGN TRUST
P.O. Box 7446                            FEDERAL QUESTION
Philadelphia, Pennsylvania 19101         INTERNATIONAL LAW and
                                         INDIGENOUS HUMAN RIGHTS
THE BE KIND AND UNIFIED
FOREIGN PRIVATE FAMILY
INDIGENOUS TRUST
I36I S. 46'" Street
Philadelphia, Pennsylvania 19143

RLH MAAT LAW OFFICE
P.O. Box 7446
Philadelphia, Pennsylvania 19101

GUALE YAMASSEE COMPLIANCE
DEPARTMENT
P.O. Box 19835
Philadelphia, Pennsylvania 19143

and


GUALE YAMASSEE JURIS CONSUL
OFFICE
P.O. Box 19835
Philadelphia, Pennsylvania 19143


                            Claimants,

vs.



CAMILLE T. BARRY,DBA NOTARY
AND OWNER OF BEREEN & BARRY
INVESTMENTS,LLC
11654 Plaza America Drive
Reston, Virginia 20190

-and-




                                                                    Page 1 of 27
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   IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




BRANCH BANKING AND TRUST
CORPORATION (NYSE:BB&T)DBA
c/o INTERTRUST BANK
190 Elgin Avenue
Grand Cayman KY1-9005, Cayman
Islands


-and-


COMMONWEALTH OF VIRGINIA
Ralph Northam,
DBA GOVERNOR OF VIRGINIA
c/o OFFICE OF THE SECRETARY OF
THE COMMONWEALTH
SERVICE OF PROCESS
DEPARTMENT
P.O. BOX 2452
Richmond, Virginia 23218-2452

-and-


SECRETARY OF THE
COMMONWEALTH OF VIRGINIA
P.O. Box 1795
Richmond, Virginia 23218-1795

-and-


SAMUEL P. WHITE,P.C.
5040 Corporate Woods Drive, Suite 120
Virginia Beach, Virginia 23462

-and-


PENNSYLVANIA OFFICE OF
ATTORNEY GENERAL
Josh Shapiro, Esquire dba
ATTORNEY GENERAL OF
PENNSYLVANIA
393 Walnut Street
Harrisburg, Pennsylvania 17120




                                                                   Page 2 of 27
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   IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




-and-


COMMONWEALTH OF
PENNSYLVANIA
Tom Wolf
DBA GOVERNOR OF
PENNSYLVANIA
Main Capital, Room 225
Harrisburg, Pennsylvania
Commonwealth,[17120]

-and-


COURT OF COMMON PLEAS
PHILADELPHIA COUNTY
AOPC
1515 Market Street
Philadelphia, Pennsylvania 19106

-and-


PHILADELPHIA COUNTY,CITY OF
PHILADELPHIA
Jim F. Kenney
DBA Mayor of the City of Philadelphia
City Hall, Room 115
Philadelphia, Pennsylvania 19107

-and-


SUPREME COURT OF
PENNSYLVANIA
AOPC
1515 Market Street
Philadelphia, Pennsylvania 19106

-and-


MATRIX FINANCIAL SERVICES
CORPORATION,
5151 CORPORATION DRIVE
TROY, MI 48098

-and-

                                                                   Page 3 of 27
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   IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




FLAGSTAR BANK
5151 Corporate Drive
Troy, Michigan 48098-2639

-and-


PENNSYLVANIA HUMAN
RELATIONS COMMISSION
Philadelphia Regional OfFice
ION. 8"* Street, Suite 501
Philadelphia, Pennsylvania 19107

-and-


OFFICE OF THE SHERIFF
CITY and COUNTY of
PHILADELPHIA
LAND TITLE BUILDING
100 S. Broad Street, 5"* Floor
Philadelphia, Pennsylvania 19110

-and-


COMMONWEALTH LAND TITLE
INSURANCE COMPANY
601 Riverside Avenue
Jacksonville, Florida 32204

-and-


THE FIRST JUDICIAL DISTRICT OF
PENNSYLVANIA,OFFICE OF
JUDICIAL RECORDS FOR FILING
(AGENTS and AGENCIES)
Room 284, City Hall
PHILADELPHIA,PENNSYLVANIA
COMMONWEALTH 19107


-and-


PHELAN,HALLINAN DIAMOND &
JONES, LLP
1617 JFK BOULEVARD,SUITE 1400
ONE PENN CENTER PLAZA

                                                                   Page 4 of 27
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   IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




PHILADELPHIA,PA 19103

-and-


GRB LAW
1425 Spruce Street, Suite 100
Philadelphia, Pennsylvania 19102

-and-


POMERANTZ & ASSOCIATES
21 S. 12th Street, 7'" Floor
Philadelphia, Pennsylvania 19107

-and-


LINDA CARPENTER,dba Judge for
Philadelphia Court of Common Pleas
1418 Criminal Justice Center,
Philadelphia, Pennsylvania 19107

-and-


FANTA SANOE
6829 Guyer Avenue
Philadelphia, Pennsylvania 19142

-and-


NIS LAR LLC
4323 Spruce Street
Philadelphia, Pennsylvania 19104

-and-


Justin L Krik, Esquire dba
ATTORNEY AT LAW
1500 JFK Boulevard, Suite 630
Philadelphia, Pennsylvania 19102

-and-




                                                                   Page 5 of 27
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   IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




YELENA SNIGUR
dba NOTARY PUBLIC IN
PENNSYLVANIA
c/o PENNSYLVANIA DEPARTMENT
OF STATE BUREAU OF
COMMISSIONS
Capital Park
401 North Street
Harrisburg, Pennsylvania 17101

-and-


BANK OF NEW YORK MELLON
Thomas P. Gibbons, dba Vice Chair and
Chief Financial Officer and
Robert Kelly
225 Liberty Place
New York, NY 10286

-and-


BANK OF AMERICA
100 N. Tryon Street
Charlotte, North Carolina 28255

-and-


DITECH FINANCIAL LLC
3000 Bayport Drive
1100 Tampa, Florida 33607

-and-


BAYVIEW LOAN SERVICING
4425 Ponce De Leon Boulevard
5'*' Floor
Coral Gables, Florida 33146

-and-


WORCHESTER COUNTY SHERIFF'S
OFFICE
240 Main Street
Worchester, MA 01608

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   IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




-and-


MCCARTER & ENGLISH LLP
265 Franklin Street
Boston, Massachusetts 02110-3113

-and-


SECRETARY OF THE
COMMONWEALTH OF
MASSACHUSETTS
McCormack Building,
One Ashburton Place
Boston, Massachusetts 02108

-and-


ANTHONY N. RENZl dba
WALTER INESTMENT
MANAGEMENT CORP.,and
Gary L. Tillett, dba as Chief Financial
Officer of Walter Investment
Management Corporation
3000 Bayport Drive, Suite 1100
Tampa, Florida 33607

-and-


WORCHESTER COUNTY SHERIFF'S
OFFICE
240 Main Street
Worcester, Massachusetts 01608

-and-
                                     8
OFFICE of ATTORNEY GENERAL
Maura Healy, Esquire dba Attorney
General of Massachusetts
1 Ashburton Place
Boston, Massachusetts 02108

-and-




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   IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




COMMONWEALTH OF
MASSACHUSETTS
Charlie Baker, dba Governor of
Massachusetts
c/o Massachusetts State House
Beacon Street, #280
Boston, Massachusetts 12133

-and-


KORDE & ASSOCIATES,P.C.
Timothy French Esquire
900 Chelmsford Street, Suite 3102
Lowell, Massachusetts 01851

-and-


OFFICE OF CONSUMER AFFAIRS
AND BUSINESS REGULATION
501 Boylston Street #5100
Boston, Massachusetts 02116

-and-


MICHAEL BOMSTEIN,Esquire
100 S. Broad Street, #2126
Philadelphia, Pennsylvania 1907

-and-


STRADLEY RONON STEVENS &
YOUNG LLP
2005 Market Street, Suite 2600
Philadelphia, Pennsylvania 19103-2018

-and-


PREMIER TITLE COMPANY
8245 Boone Boulevard,
Suite 410
Tysons, Virginia 22182

-and-



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     IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




 FIRST JUDICIAL DISTRICT OF
 PENNSYLVANIA THE
 PHILADELPHIA COURTS
 LandLord Tenant Court
 Court Administrator
 1339 Chestnut Street, Room 1020
 Philadelphia, Pennsylvania 19107

 -and—


 INTERNAL REVENUE SERVICE
 Office of Customer Service
 P.O. Box 1115
 Richmond, VA 20218


                 Respondents.




      INDIGENOUS TRUSTEES COMPLAINT IN FRAUD AND DEPRIVATION OF
   HUMAN AND PROPERTY AND CONSTITUTIONAL RIGHTS UNDER COLOR OF
                                LAW THROUGH MALFEASANCE


         NOW COMES,INDIGENOUS TRUSTEES and CHIEF WHITE OWL and files this
herein COMPLAINT a FEDERAL CIVIL ACTION and avers the following:


                                   ORIGINAL JURISDICTION


Under USC 1362, The district courts shall have original jurisdiction of all civil actions, brought by
any [indigenous] tribe or band with a governing body duly recognized by the Secretary of the
Interior, wherein the matter in controversy arises under the Constitution, laws, or treaties of the
United States.




                                          BACKGROUND


   1. Claimants are Indigenous to the land of North America, and originate from the Tsalagi
         Nation, which has over 10,000 years of History.


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  IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




2. Claimants,arc the descendants of the Tsalagi Nation, and are the beneficiaries of all Treaties
    entered between Britain, The United States and the Tsalagi Nation.
3. Claimants, currently are members of the Guale Yamassee Indigenous Native American
    Association of Nations.

4. Claimants are members of a protected class.
5. Treaty protects Claimants to freely engage in trade and commerce without restraint.
6. Claimants real property and land gifted them by Yahuah have been targeted by the above
    listed united states agents and public officials through ongoing and continuous acts that have
    caused irreparable harm.
7. Claimants through birthright are the original owners, jointly owned with all Indigenous
    peoples, of land gifted them by their Elohiym.
8. Claimants, possess original land patents to land in North America and are the beneficiaries
    ofthe land, despite any obstructions built upon the land and claimed to be owned by allative
    foreign entities and foreign agents.
9. Claimants, upon receiving notice of the claims: 13-17599 Prince William County,
    170503419 Philadelphia County, Writ 1511-4197, 18120106 Philadelphia County, 03972
    Control No. 16095058 Philadelphia County, attempted to respond timely and had/have been
    obstructed by government agents and denied access to respond timely and effectively.
 10. Further, when Claimants' inquired for assistance as per information contained in the Notice
    of Claim packet ,at all times. Respondents informed Claimants' beneficiaries that the only
    assistance they could provide them was to "help them make a payment".
 11. Claimants assert that all times. Respondents engaged in fraudulent misrepresentation of
    material facts.

 12. Claimants assert that all times. Respondents engaged in fraudulent mortgage presentments.
 13. Claimants assert that all times, Respondents engaged in fraudulent assertion of contracts,
    when no legal contract, legal agreements, or legal mortgages existed.
 14. All Respondents have taken an oath to uphold to defend and protect the Constitution of the
    United States against domestic and foreign nations.
 15. All Respondents have taken an oath to uphold and protect the public.



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  IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




 16. Respondents,since some unknown time, have been acting as iftheir public positions are their
    private illegal businesses and have engaged in self-dealing on a grand scale which includes
    the cooperation of various agents within the government structure.
 17. Respondents, since some unknown time, have been acting within their public capacity to
    abuse the people and trespass against real property of Claimants.
 18. Respondents, since some unknown time, through use of their public positions, have misused
    and abused their positions for their personal gain and have refused to uphold thejust function
    of their offices.

 19. Claimants responses have all been obstructed through denial of access to the courts.
20. Respondents are using the courts and the government agencies to funnel an orchestrate their
    unlawful and tortious acts against Claimants.
 21. At all times, the courts in which matters have been asserted by Respondents, have ignored,
    arbitrarily dismissed and Ordered to Sheriffs sales against Claimants.
 22. At all times. Respondents have engaged in acts of Threat, duress and coercion to obtain
    payment and property unlawfully.
 23. Respondents have systematically established a system that misleads Claimants, once tney
    area sued in foreclosure court, to believe they are there to help them through the mortgage
    process and when they appear, they are there to ensnare and trap them like prey into giving
    up their property or making payments they never agreed to make or were required to make
    from the inception.
 24. The Federal Government, unknowingly, funds organizations, that Respondents operate
    through, that present themselves as servicing the public to help in Fraudulent Mortgage
    Foreclosure matters,
 25. Claimants have informed Respondents, that they are Indigenous, and that all ofthe property
    they have alleged to have an interest, is in Trust.
 26. Respondents intentionally ignore any facts presented by Claimants, and knowingly deny
    Indigenous Trustees the right to appear, defend and access to the courts.
27. Respondents, possessing knowledge of the Indigenous Trustees, have intentionally and
    knowingly failed to notice the true owners of the property.



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 IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




28. When Claimants request evidence of mortgage, Respondents ignore and refuse to produce
   said evidence getting a Judge to bypass the request or the need for Respondents to produce
   any evidence ofa contract or mortgage.
29. Claimants understand that when loans are granted and other financial contracts involving
    bank funds, a financial paper trail is created.
30. At all times Respondents have refused to provide the financial paper trails.
31. At all times Respondent courts have failed to accept and justly consider any and all evidence
    presented against Respondent entities and Respondent attorneys.
32. Respondent courts provide Respondent entities' agents an Respondent attorneys with cart
    blanche abilities to violate constitutional rights of Claimants.
33. Respondents have received thousands of Sheriff Sale properties through malfeasance acts
   committed by Respondents, and others not part of this Complaint.
34. Respondents have falsely and tortiously profited from thousands of Sheriff Sale properties
   through malfeasance acts committed by Respondents, and others not part ofthis Complaint.
35. Respondent Judges have engaged in numerous acts of arbitrarily denying and dismissing
   cases.


36. Respondent Judges have notoriously abused their discretion as Judges in the cases that have
   caused this matter to be brought before this court.
37. Respondent Judges, knowing fraud has occurred, have wrongly and unlawfully, ordered
    Claimant beneficiaries to pay and place into escrow unwarranted amounts due, knowing
    Claimants owed nothing and when Claimant refused to pay, dismissed the case and issued
   judgment and defaultjudgments against Claimant.
38. Respondent Judges have approved of Motions approving attorneys hired by alleged
    Mortgagee to not communicate with the Trustee or other legally interested party.
39. Respondents have engaged in numerous acts of preventing documents from timely being
   accepted and filed electronically and in person.
40. Respondents have intentionally engaged in tactics that mimic the Racketeering business of
   the mafia by using the justice system as a tool to threaten, coerce and place Claimants
    Beneficiaries under duress.




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 IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




41. Respondents have intentionally engaged in taetics to plaee Claimants under extreme
   emotional distress, directly and indirectly.
42. Respondent courts in the above operate as a criminal and corrupt enterprise, engaged in the
    business of stealing Indigenous Peoples property and breaking each other off a cut of the
    booty and prize acquired.
43. Respondents have all profited from underselling at Sheriff Sales an not reporting the Real
    value of property acquired or realized to the IRS.
44. At no time, have any of the Claimant's homes been sold for Fair Market Price and Trustees
    received payment from any residual despot.
45. At all times. Claimants have failed to contact Trustees, pretending as if Trustees do not exist,
    when lawful private agreements and sales among the Indigenous have occurred.
46. At no time have any of the Claimants' received equity remaining after the prize and booty
    had been divided amongst the Respondents.
47. Claimant beneficiaries have been left homeless or left under the threat of impending threat
   of eviction by the Sheriff or Police who kill Indigenous people at will and without recourse
   in this united states.

48. Respondents have actively and intentionally engaged in presenting fraudulent documents by
   copying and pasting signatures and affixing initials of Claimant beneficiaries.
49. Claimant beneficiaries are not the owners ofthe property in the alleged mortgage agreements.
50. Respondents have successfully evaded answering interrogatories regarding the validity of
   the contracts/mortgage documents.
51. Respondent attorneys and judges have intentionally ignored the laws of Contract and Jus
    Cogens to turn a profit at the disadvantage ofthe Trustees and beneficiaries.
52. Claimant Trustees owe a fiduciary duty to the Nation, Clan and beneficiaries and
    Respondents have unlawfully interfered with the contractual relationship that exists between
   the Claimant Trustees and beneficiaries, choosing to solely deal with beneficiaries who are
    unaware of the laws of property, banking and mortgages.
53. Respondents have knowingly engaged in fraud through continuous and ongoing acts of
   forging signatures or adding signatures subsequent Notarizing documents.



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 IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




54. Respondents, in each case have perfected the strategy of contriving fraudulent documents
   and then selling the documents as real "legal tender" and "promissory notes" to third parties
   and then "assigning" the mortgage to subsidiary entities owned by the original parent
   corporation.
55. At all times Respondents have failed to attach any substantive and evidentiary relevant
   documents proving their relationship and claim as a Creditor-Lender against Claimants-
   Beneficiaries.

56. At all times Respondents have refused to deal with the Trustees and rightful owners of the
   estates.

57. Respondents' entitiies and attorneys, through assistants from the judges, arrogantly present
   superior rights of claim and ownership to In Rem Property and then deny being required to
    produce documentary evidence to support such assertions.
58. Respondents' entities and attorneys, through assistants from the judges, arrogantly present
   superior rights ofclaim and ownership to In Rem Property and then deny having to deal with
   the Trustees and lawful owners of the property.
59. Respondent banks are required by law, not under color of law, to maintain records of money
   transactions.

60. At all times. Respondents have been unable and/or unwilling to produce copies ofchecks or
   records evidencing that funds asserted "loaned" and "owed" were in fact transferred and
    presented and accepted by Trustees of the property.
61. At all times, Respondents' Complaints filed in Court were defective according to each States'
    procedural laws and included non-applicable boilerplate language to give the appearance of
   legitimate standing to engage in the business of theft of property and harassing legitimate
    real property owners.


62. At all times, Claimant asserts, that Trustees are the true owners of the real property and that
    Respondents in total are operating under color of authorily and are utilizing, through
   collusion, the Court System as a means to advance its unlawful objectives.




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  IN THE UNITED DISTRICT COURT l-OR THE EASTERN DISTRICT OF VIRGINIA




63. At all times. Claimant asserts, that Trustees are the true owners of the real property and that
    Respondents, in total, are operating under color ofkm and are utilizing, through collusion,
   the Court System as a means to advance its unlawful objectives.


64. Lawfully,a Deed does not supersede Land Patents regardless of how many times the deed is
   transferred or sold. Indigenous people are the original land patent owners.


65. Claimants are the lawful and rightful possessors of the Land Patents and if Respondents
   choose to assert rights superior to the land/structures then Respondents lawfully must deal
    with the Trustees ofthe Estates and not the beneficiaries of the Estate.




                                      CONCLUSION




66. The foregoing paragraphs are incorporated by reference as if set forth fully herein.


67. Respondents actions at all times have violated Torah; the Law of Yahuah.


68. Respondents at all times have failed to proffer any factual and legal evidence through
    pleadings or attaching material documents as evidence to their Mortgage Complaints and
   establish any cognizable and honorable basis for their foreclosures and therefore any remedy
   to be provided at Common Law, International Law, or by Statutory Law is beyond
    Respondents' reach and therefore the cause of Respondents need to engage in malfeasance.


69. Furthermore, Respondents are criminal opportunist and looking to take part in the housing
    mortgage foreclosure crisis that is currently occurring in the Nation, although not solely, and
    primarily against a marginalized and discriminated group of people, who are not only
    indigenous to these lands but who have been targeted for the sole purpose of advancing the
    Gentrification scheme.




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   70. Attorneys are not legally bonded to engage in debt collecting and have failed to adhere to the
       laws required by the Fair Credit Collections requirements to operate as lawful debt collectors
       of the united states.



   71. Respondents tactics are direct violations of the Declaration on the Rights of Indigenous
       Peoples established under the United Nations for the protection ofpeople who have been and
       continue to be detrimentally affected by colonialization and white supremacy.


   72. Respondents tactics and intentional acts violate the Guale Yamassee Indigenous
       Constitution.


   73. Respondents tactics and intentional acts violate Free Prior and Informed Consent by
       Indigenous people regarding their properties and land.




       WHEREFORE, based upon the aforementioned and by Respondent's plethora of
documents filed in the above matters, very own Complaints, which serves as admissions. Claimants
on behalfoftheir-beneficiaries demand that Respondents cease their unlawful and fraudulent actions
against Claimants, that this Court under 18 U.S. Code § 3333 ORDER an investigation into the
Mortgage fraudulent schemes engaged by the above states and local municipalities, and due to the
intentional and punitive nature of Respondents actions, that:
       1) Xi Chin Clan Nation receive punitive compensation for all the time and distress and
           currencies expended in the amount of599,000,000(FIVE HUNDRED and NINTY NINE
           MILLION).in Silver Coins, to ensure Claimants are reasonably compensated for the
           frivolous and scandalous fraudulent attempt to instill terror in Claimants'-beneficiaries,
           and other family clans disparately impacted by the intentional acts,including elderly with
           Dementia, through such conveyance of paper terrorism fraudulently providing rights to
           dispossess of real property res,
       2) An investigation into the corrupt practices of stealing property through fraudulent
           foreclosure actions is conducted and prosecuted to the fullest extent of Torah, which is
           law, and not under color of law or abuses of discretion, and

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    IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




       3) All Claimants be made whole through compensatoi7 compensation with interest for all
          intentional trespasses committed and permitted.


                                                 Honorably Submitted,
                                                 All Rights Reserved




Date of Execution: 9.18.2020

                                                    logrdph vfRJnishea Lynn Harmon-El, Esq.
                                                 Trustee
                                                 The Be Kind and Unified Indigenous Foreign
                                                 Private Family Tru.st (Trustee)
                                                 Harmon Rhashea Lynn Foreign Trust
                                                 (Trustee)
                                                 RLH Ma'at Law Firm(CEO)
                                                 ChiefJuris Consul Officer ofGuale Yamassee
                                                 Juris Consul Office
                                                 P.O. Box 7446
                                                 Philadelphia, Pennsylvania 19101
                                                 267.312.7322
                                                 Email:
                                                                           '            rt.ors
                                                 1.888,696.0367




                                                    fognaph ofChief White Owl, Trustee
                                                 Xi Cmn Clan Nation (Trustee)
                                                 Chief Compliance Office of Guale Yamassee
                                                 Compliance Department
                                                 P.O. Box 6666
                                                  Woodbridge, Virginia 22195
                                                 703.967.5994
                                                 Conwenforcertwsnialevama.sseecourt.ori!
                                                 1.888.696.0367




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     IN THE UNITED DISTRICT COURT EGR THE EASTERN DISTRICT OF VIRGINIA




                                         VERIFICATION



By our autographed hand and seal                                        Wee verify that the factual
statements herein are true, correct and made with honor according to our knowledge and
comprehension.
As the Trustees and Juris Consul of Guale Yamassee, Wee, verily in accordance with the laws,
statutes and commandments of Yahuah,our Elohiym of Yashar'el, and in accordance with the
laws of Jus Cogens and UCC„ which are in accordance with the Laws, Statutes, an
Commandments,that the statements made herein are made with the utmost knowledge and intent to
represent TRUTH and that it is comprehended that having intentionally and knowingly being made
of a corrupt mind with the intent to commit wicked, deceitful perjuries, that such acts, exercise the
understanding of the established parallel law of Torah codified in 28 United States Code 1746
relating to unswom falsification.


                                                     Honorably Submitted,
                                                     All Rights Reserved




Date of Execution: 9.18.2020

                                                                      ashea Lynn Harmon-El, Esq.
                                                     I he Be Ki/h^nd Unified Indigenous Foreign
                                                     Private Family Trust (Trustee)
                                                     Harmon Rhashea Lynn Foreign Trust
                                                     (Trustee)
                                                     RLH Ma 'at Law Firm (CEO)
                                                     Chief.Juris Consul Officer ofGuale Yamassee
                                                     Juris Consul Office



                                                     Autograph ofChief White Owl
                                                     Xi Chin Clan Nation (Tnistee)
                                                     Chief Compliance OJfice of Guale Yamassee
                                                     Compliance Department

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    IN THE UNI TED DIS'l'RICT COURT TOR THE EASTERN DISTRICT OF VIRGINIA




                                 CERTIFICATE OF SERVICE



By my autograph and seal, and in conformance with the Uniform Postal Act and laws governing
by the Uniform Postal Union, Wee,                                     ,and
                           have certified that Wee, have caused a true and correct copy ofthe
Cause of Action Against United States and its Agents to be filed on                 and mailed by
the U.S. Postal First Class Mail on                        to the following persons(entities) or
living men or women:


CAMILLE T. BARRY,DBA NOTARY AND OWNER OF BEREEN & BARRY
INVESTMENTS,LLC

11654 Plaza America Drive

Reston, Virginia 20190



BRANCH BANKING AND TRUST CORPORATION(NYSE:BB&T)DBA
c/o INTERTRUST BANK

190 Elgin Avenue
Grand Cayman KYI-9005, Cayman Islands


COMMONWEALTH OF VIRGINIA

Ralph Northam,

DBA GOVERNOR OF VIRGINIA

c/o OFFICE OF THE SECRETARY OF THE COMMONWEALTH

SERVICE OF PROCESS DEPARTMENT

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Richmond, Virginia 23218-2452
SECRETARY OF THE COMMONWEALTH OF VIRGINIA

P.O. Box 1795

Richmond, Virginia 23218-1795
                                                                                      Page 19 of 27
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    IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




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COMMONWEALTH OF PENNSYLVANIA

Tom Wolf

DBA GOVERNOR OF PENNSYLVANIA

Main Capital, Room 225
Harrisburg, Pennsylvania Commonwealth,[17120]


COURT OF COMMON PLEAS PHILADELPHIA COUNTY

AOPC

1515 Market Street

Philadelphia, Pennsylvania 19106


PHILADELPHIA COUNTY,CITY OF PHILADELPHIA

Jim F. Kenney

DBA Mayor of the City of Philadelphia

City Hall, Room 115

Philadelphia, Pennsylvania I9I07


SUPREME COURT OF PENNSYLVANIA
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    IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




AOPC

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MATRIX FINANCIAL SERVICES

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5151 CORPORATION DRIVE

TROY,MI 48098



FLAGSTAR BANK

5151 Corporate Drive

Troy, Michigan 48098-2639



PENNSYLVANIA HUMAN RELATIONS COMMISSION

Philadelphia Regional Office
ION. 8'" Street, Suite501
                                                             \


Philadelphia, Pennsylvania 19107


OFFICE OF THE SHERIFF

CITY and COUNTY ofPHILADELPHIA

LAND TITLE BUILDING

100 S. Broad Street, 5"" Floor
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COMMONWEALTH LAND TITLE INSURANCE COMPANY

601 Riverside Avenue

Jacksonville, Florida 32204


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     IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




THE FIRST JUDICIAL DISTRICT OF PENNSYLVANIA,OFFICE OF JUDICIAL RECORDS
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FANTA SANOE

6829 Guyer Avenue

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NIS LAR LLC

4323 Spruce Street

                                                                   Page 22 of 27
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    IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




Philadelphia, Pennsylvania 19104



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YELENA SNIGUR

dba NOTARY PUBLIC IN PENNSYLVANIA

c/o PENNSYLVANIA DEPARTMENT OF STATE BUREAU OF COMMISSIONS

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BANK OF NEW YORK MELLON

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Robert Kelly

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BANK OF AMERICA

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Charlotte, North Carolina 28255



DITECH FINANCIAL LLC

3000 Bayport Drive

1100 Tampa, Florida 33607




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     IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




BAYVIEVV LOAN SERVICING

4425 Ponce De Leon Boulevard

5"' Floor

Coral Gables, Florida 33146



WORCHESTER COUNTY SHERIFF'S OFFICE

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Worchester, MA 01608



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Gary L. Tillett, dba as Chief Financial Officer of Walter Investment Management Corporation
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Tampa, Florida 33607



WORCHESTER COUNTY SHERIFF'S OFFICE

240 Main Street

Worcester, Massachusetts 01608


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    IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




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Charlie Baker, dba Governor of Massachusetts

c/o Massachusetts State House

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KORDE & ASSOCIATES,P.C.

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Philadelphia, Pennsylvania 19103-2018


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    IN THE UNITED DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA




PREMIER TITLE COMPANY

8245 Boone Boulevard,

Suite 410

Tysons, Virginia 22182



INTERNAL REVENUE SERVICE

Office of Customer Service

P.O. Box 1115

Richmond, VA 20218




                                          Respondents,




Date ofExecution:                       By:
                                           Autograph of living man or woman.




                                                                      Page 26 of 27
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    IN THE UNITED DISTRICT COURT FOR THE EASTERN DIS TRICT OF VIRGINIA




                                      ORDER


      AND NOW,this         day of              ,2020,upon acceptance,comprehension

and consideration of this herein Complaint it is hereby ORDERED and DECREED that the

APPLICATION FOR RELIEF is GRANTED along with REMEDY.

                                                  By THE COURT;




                                                                                J.




                                                                         Page 27 of 27
